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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                    X
JOHN P. “JACK” FLYNN                                :
LESLIE A. FLYNN,                                    :     Case: 1:21-cv-02587-GHW-SLC
                                                    :
                                                    :
                                   Plaintiff,       :
                                                    :
                   - against -                      :
                                                    :
CABLE NEWS NETWORK, INC.,                           :
                                                    :
                                   Defendant.       :
                                                    :
                                                    :
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                                                    :
                                                    :
                                                    :
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     DECLARATION OF KATHERINE M. BOLGER IN SUPPORT OF MOTION OF
                 DEFENDANTS CABLE NEWS NETWORK’S
              MOTION TO DISMISS PLAINTIFFS’ COMPLAINT

          I, Katherine M. Bolger, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

    1. I am a partner at the law firm of Davis Wright Tremaine LLP, attorneys for Defendant

Cable News Network (“CNN” or “Defendant”) in the above-captioned matter.

    2. I submit this declaration to annex documents relevant to the Defendants’ motion to

dismiss Plaintiff’s Complaint in this action.

    3. Annexed hereto as Exhibit 1 is a true and correct copy of a CNN telecast titled “CNN

Goes Inside A Gathering Of QAnon Followers,” which aired on February 3, 2021 as part of the

news program Don Lemon Tonight. A portion of this telecast forms the basis of Plaintiffs’

claims.




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    4. Annexed hereto as Exhibit 2 are true and correct copies of a letter requesting that

Plaintiffs’ Complaint be withdrawn and the related draft Notice Of Motion For Sanctions, sent by

counsel for CNN to Plaintiffs on April 15, 2021.

    5. Annexed hereto as Exhibit 3 is a true and correct copy of an email sent by counsel for

Plaintiffs to counsel for CNN on April 29, 2021, stating that Plaintiffs would file an Amended

Complaint (“Am. Compl.”), and that agreeing CNN’s time to respond to Plaintiffs’ claims would

be tolled until service of the Amended Complaint.

    6. Annexed hereto as Exhibit 4 is a true and correct copy of the cached version of an article

titled Michael Flynn recites oath of office using slogan associated with QAnon, The Washington

Examiner (July 5, 2020), which is referenced by Plaintiffs in their Amended Complaint. Am.

Compl. ¶ 4 n.1. This article is available at

http://webcache.googleusercontent.com/search?q=cache:H0FeVEWd2fcJ:https://www.washingto

nexaminer.com/news/michael-flynn-recites-oath-of-office-using-slogan-associated-with-

qanon&hl=en&gl=us&strip=0&vwsrc=0.

    7. Annexed hereto as Exhibit 5 is a true and correct copy of House Resolution 1094

(August 25, 2020), which is referenced by Plaintiffs in their Amended Complaint. Am. Compl.

¶¶ 19 n.5 and 23.a. This Resolution is available at

https://www.congress.gov/116/bills/hres1094/BILLS-116hres1094ih.pdf.

    8. Annexed hereto as Exhibit 6 is a true and correct copy of an article titled What Is

QAnon? What We Know About the Conspiracy-Theory Group, The Wall Street Journal (February

4, 2021), which is referenced by Plaintiffs in their Amended Complaint. Am. Compl. ¶ 1. This

article is available at https://www.wsj.com/articles/what-is-qanon-what-we-know-about-the-

conspiracy-theory-11597694801?mod=article_inline.


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    9. Annexed hereto as Exhibit 7 is a true and correct copy of a transcript of a “CNN Special”

titled The Cult of QAnon, which aired on February 26, 2021 and is referenced by Plaintiffs in their

Amended Complaint. Am. Comp. ¶¶ 2, 15, 23.a. This transcript is available at

http://transcripts.cnn.com/TRANSCRIPTS/2102/26/csr.01.html.

    10. Annexed hereto as Exhibit 8 is a true and correct copy of an article titled ‘Are you

QAnon?’: One Trump official’s brush with an internet cult gone horribly wrong, Politico (January

19, 2021), which is referenced by Plaintiffs in their Amended Complaint. Am. Compl. ¶ 21 n.6.

This article is available at https://www.politico.com/news/2021/01/19/qanon-trump-ezra-cohen-

watnick-460520.

    11. Annexed hereto as Exhibit 9 is a true and correct copy of an archived tweet from

Plaintiff Jack Flynn (“Jack Flynn”), posted on or around July 4, 2020, retweeting a post by user

@GenFynn that contained a video of Plaintiffs engaging in the “#TakeTheOath” Twitter

movement. @GenFlynn is the account of Jack Flynn’s brother, General Michael Flynn. This

archived tweet is available as part an archived version of Jack Flynn’s feed for the date July 5,

2020, at https://web.archive.org/web/20200705165722/twitter.com/GoJackFlynn.

    12. Annexed hereto as page 1 to Exhibit 10 is a true and correct copy of a screenshot of an

archived version of Jack Flynn’s Twitter profile, dated September 16, 2019. As shown, Jack

Flynn had 8,025 followers as of that date. This archived profile is accessible at

https://web.archive.org/web/20190916171650/twitter.com/GoJackFlynn.

    13. Annexed hereto as page 2 to Exhibit 10 is a true and correct copy of a screenshot of an

archived version of Jack Flynn’s Twitter profile, dated July 1, 2020. As shown, Jack Flynn had

104,000 followers as of that date. This archived profile is accessible at

https://web.archive.org/web/20200701034959/twitter.com/GoJackFlynn.



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    14. Annexed hereto as page 3 to Exhibit 10 is a true and correct copy of a screenshot of an

archived version of Jack Flynn’s Twitter profile, dated July 5, 2020. As shown, Jack Flynn had

108,000 followers as of that date. This archived profile is accessible at

https://web.archive.org/web/20200705165722/twitter.com/GoJackFlynn.

    15. Annexed hereto as page 4 to Exhibit 10 is a true and correct copy of a screenshot of an

archived version of Jack Flynn’s Twitter profile, dated January 8, 2021. As shown, Jack Flynn

had 226,000 followers as of that date. This archived profile is accessible at

https://web.archive.org/web/20210108181524/twitter.com/GoJackFlynn.

    16. Annexed hereto as Exhibit 11 is a true and correct copy of a screenshot of Leslie Flynn’s

Twitter profile, which a colleague at my law firm took at my direction on June 16, 2021. The

profile is available at https://twitter.com/lflynn1998.

    17. Annexed hereto as page 1 to Exhibit 12 is a true and correct copy of an archived tweet

from Jack Flynn (“Jack Flynn”), posted on or around July 5, 2020, showing an image of General

Flynn wearing a “Q” pin. This archived tweet is available as part an archived version of Jack

Flynn’s feed for the date July 5, 2020, at

https://web.archive.org/web/20200705165722/twitter.com/GoJackFlynn.

    18. Annexed hereto as page 2 to Exhibit 12 is a true and correct copy of an archived tweet

from Jack Flynn, posted on or around August 21, 2020, retweeting a post by the user

@OficialPatriot asking for “Qanon’s [sic] [to] share and tell your story.” This archived tweet is

available as part an archived version of Jack Flynn’s feed for the date August 21, 2020, at

https://web.archive.org/web/20200821145152/twitter.com/GoJackFlynn.

    19. Annexed hereto as page 3 to Exhibit 12 is a true and correct copy of an archived tweet

from Jack Flynn, posted on or around August 22, 2020, retweeting a post by the user




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@11AngelAura11 of an image titled “QAnon vs Antifa: A Breakdown....” This archived tweet is

available as part an archived version of Jack Flynn’s feed for the date August 22, 2020, at

https://web.archive.org/web/20200822195318/twitter.com/GoJackFlynn.

    20. Annexed hereto as page 4 to Exhibit 12 is a true and correct copy of an archived tweet

from Jack Flynn, posted on or around September 16, 2019, retweeting a post by the user

@QBlueSkyQ containing the hashtag #QAnon and images of message board posts signed by “Q.”

This archived tweet is available as part an archived version of Jack Flynn’s feed for the date

September 16, 2019, at https://web.archive.org/web/20190916171650/twitter.com/GoJackFlynn.

    21. Annexed hereto as pages 5 through 7 to Exhibit 12 are true and correct copies of

archived tweets from Jack Flynn, posted on or around September 18, 2020, November 1, 2020,

and December 22, 2020, retweeting posts by the user @whaleswarrior containing images an

individual wearing clothing bearing the word “Q.” These archived tweets are available as part

archived versions of Jack Flynn’s feed for the dates September 18, 2020, at

https://web.archive.org/web/20200918012449/twitter.com/GoJackFlynn; November 1, 2020, at

https://web.archive.org/web/20201101202907/twitter.com/GoJackFlynn; and December 22, 2020,

at https://web.archive.org/web/20201222090703/twitter.com/GoJackFlynn.

    22. Annexed hereto as page 1 of Exhibit 13 is true and correct copy of a tweet by the user

@Cwork12, posted on June 5, 2020, containing the phrase “You’ve been Q’ed for this one!” and

#WWG1WGA, #TheGreatAwakening, and #Q, among other hashtags. This tweet is available at

https://twitter.com/CWork12/status/1268964856134238213. It appears on the page of tweets

liked by Leslie Flynn, available at https://twitter.com/lflynn1998/likes.

    23. Annexed hereto as page 2 of Exhibit 13 is true and correct copy of a tweet by the user

@_Discernment_, posted on May 9, 2020, containing an image of General Flynn standing next




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the letter “Q” and featuring the hashtag #WWG1WGA. This tweet is available at

https://twitter.com/_Discernment_/status/1259140924053098496. It appears on the page of tweets

liked by Leslie Flynn, available at https://twitter.com/lflynn1998/likes

    24. Annexed hereto as Exhibit 14 is a true and correct copy of an archived tweet from Jack

Flynn, posted on or around July 6, 2020, retweeting a post by the user @SidneyPowell1 disputing

#TakeTheOath relates to a “‘conspiracy’.” @SidneyPowell1 is the account of Sidney Powell,

General Flynn’s lawyer. This archived tweet is available as part an archived version of Jack

Flynn’s feed for the date July 6, 2020, at

https://web.archive.org/web/20200706233434/twitter.com/GoJackFlynn.

         I declare under penalty of perjury that the foregoing is true and correct.


Dated: New York, New York
       June 21, 2021

                                                /s/ Katherine M. Bolger
                                                KATHERINE M. BOLGER




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